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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION


 X CORP.,

                    Plaintiff,

             v.                                      Civil Action No. 4:23-cv-01175-O

 MEDIA MATTERS FOR AMERICA,
 et al.,

                   Defendants.




DEFENDANTS’ MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION,
         IMPROPER VENUE, AND FAILURE TO STATE A CLAIM

       Defendants Media Matters for America and Eric Hananoki (collectively, “Defendants”)

respectfully move the Court for an order dismissing the above-captioned case for lack of personal

jurisdiction, improper venue, and failure to state a claim upon which relief can be granted. For the

reasons stated in the accompanying Memorandum of Law in Support of Defendants’ Motion to

Dismiss, and Appendix thereto, the Complaint should be dismissed entirely and with prejudice

pursuant to Federal Rules of Civil Procedure 12(b)(2), 12(b)(3), and 12(b)(6).

       WHEREFORE, Defendants respectfully request dismissal of the Complaint.




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Respectfully submitted,                      Dated: February 6, 2024.

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            Counsel for Defendants Media Matters for America and Eric Hananoki




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                                 CERTIFICATE OF SERVICE

       On February 6, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Andrew LeGrand
                                                      Andrew LeGrand




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